 8:09-cr-00272-JFB-FG3        Doc # 60    Filed: 10/05/09    Page 1 of 1 - Page ID # 148



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:09CCR272
       vs.                                 )
                                           )                       ORDER
MICHAEL D. MCCROY,                         )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO ENLARGE TIME TO FILE
PRETRIAL MOTIONS [56]. Upon review of the file, the court finds that an extension of
approximately seven days should be granted. Pretrial Motions shall be filed by October
13, 2009.

       IT IS ORDERED:

      1.    Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [56] is
granted. Pretrial motions shall be filed on or before October 13, 2009.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.    The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between October 5, 2009 and
October 13, 2009, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 5th day of October, 2009.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
